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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20559-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  JATAVIA SHAKARA JOHNSON,

        Defendant.
  ________________________________/


                                           ORDER

         THIS CAUSE came before the Court on Defendant’s Motion for Clarification [ECF No.

  41]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is DENIED, as there is nothing in the

  Court’s prior Order that requires clarification. Perhaps Defendant should review the Factual

  Proffer [ECF No. 33] if she is in continuing doubt about the amounts of money owed and who

  the victims are.

         DONE AND ORDERED in Miami, Florida, this 28th day of December, 2017.




                                                      _________________________________
                                                      CECILIA M. ALTONAGA
                                                      UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
